                                 Case 23-10710-MFW                      Doc 1        Filed 06/02/23           Page 1 of 20



Fill in this information to identify your case:


United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                        Chapter       7
                                                                                                                                Check if this an
                                                                                                                                amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                     NWon, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification       XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                       Mailing address, if different from principal place of
                                                                                                    business

                                  2051 Midway Road
                                  Lewisville, TX 75056
                                  Number, Street, City, State & ZIP Code                            P.O. Box, Number, Street, City, State & ZIP Code

                                  Denton                                                            Location of principal assets, if different from principal
                                  County                                                            place of business

                                                                                                    Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          Partnership (excluding LLP)
                                          Other. Specify:




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          NWon, LLC
Debtor                                                                                                   Case number (if known)
          Name


7.   Describe debtor's business         A. Check one:
                                             Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                             Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                             Railroad (as defined in 11 U.S.C. § 101(44))
                                             Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                             Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                             None of the above

                                        B. Check all that apply
                                            Tax-exempt entity (as described in 26 U.S.C. §501)
                                             Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                             Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                          http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                             5416

8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
                                             Chapter 7
     debtor filing?
     A debtor who is a “small                Chapter 9
     business debtor” must check             Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                      The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                       noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                    $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is                                 operations, cash-flow statement, and federal income tax return or if any of these documents do not
     a “small business debtor”)                                    exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     must check the second                                         The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     sub-box.
                                                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                   proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                   balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                   any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                   A plan is being filed with this petition.
                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                   accordance with 11 U.S.C. § 1126(b).
                                                                   The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                   Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                   Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                   (Official Form 201A) with this form.
                                                                   The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                             Chapter 12

9.   Were prior bankruptcy                  No.
     cases filed by or against
                                            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                                District                                    When                                Case number
                                                   District                                    When                                Case number

10. Are any bankruptcy cases                No
    pending or being filed by a
                                            Yes.
    business partner or an
    affiliate of the debtor?


     List all cases. If more than 1,
     attach a separate list                        Debtor         See Schedule 1                                                  Relationship            See Schedule 1

                                                   District       Delaware                     When                               Case number, if known

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          NWon, LLC
Debtor                                                                                           Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                      preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal       Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                 It needs to be physically secured or protected from the weather.
                                                  It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                 Other
                                             Where is the property?
                                                                               Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                 No
                                                 Yes.    Insurance agency
                                                         Contact name
                                                         Phone



         Statistical and administrative information

13. Debtor's estimation of      .        Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                            1,000-5,000                                 25,001-50,000
    creditors
                                    50-99                                           5001-10,000                                 50,001-100,000
                                    100-199                                         10,001-25,000                               More than 100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                              $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

16. Estimated liabilities           $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                     $50,001 - $100,000                             $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion




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          NWon, LLC
Debtor                                                                                             Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on       06/02/2023
                                                  MM / DD / YYYY


                             X            /s/ Mark Baysinger                                               Mark Baysinger
                                 Signature of authorized representative of debtor                         Printed name

                                 Title    Authorized Person




18. Signature of attorney    X               /s/ Sean M. Beach                                             Date 06/02/2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                    Sean M. Beach
                                 Printed name

                                    Young Conaway Stargatt & Taylor, LLP
                                 Firm name

                                    1000 North King Street Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone       (302) 571-6600              Email address           sbeach@ycst.com

                                    4070 DE
                                 Bar number and State




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                                                     Schedule 1

                        Pending Bankruptcy Cases Filed by the Debtor and Its Affiliate

                On the date hereof, each of the affiliated entities listed below (including the debtor in this

         chapter 7 case) filed a voluntary petition for relief under title 11 of the United States Code in the

         United States Bankruptcy Court for the District of Delaware.



                                           Entity Name

                                           NWon, LLC

                                           Nexius Solutions, Inc.

                                           Velex, Inc.

                                           2816 Dissolution, Inc.

                                           1146 Dissolution, Inc.

                                           7695 Dissolution, Inc.

                                           3118 Dissolution, Inc.

                                           8634 Dissolution, Inc.




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                   ACTION BY UNANIMOUS WRITTEN CONSENT OF THE BOARD OF DIRECTORS OF
                                                   NWON, LLC
                                              NEXIUS SOLUTIONS, INC.
                                                   VELEX, INC.
                                              2816 DISSOLUTION, INC.
                                              1146 DISSOLUTION, INC.
                                              7695 DISSOLUTION, INC.
                                              3118 DISSOLUTION, INC.
                                              8634 DISSOLUTION, INC.

                                                    APRIL 20, 2023


                 Pursuant to Sections 141(f) and 251 of the General Corporation Law of the State of
         Delaware (the “DGCL”) and the bylaws of each of (i) NWON, LLC ("NWON"), (ii) Nexius
         Solutions, Inc. (“Nexius Solutions”), (iii) Velex, Inc. (“Velex”), (iv) 2816 Dissolution, Inc.
         (“2816”), (v) 1146 Dissolution, Inc. (“1146”), (vi) 7695 Dissolution, Inc. (“7695”), (vii) 3118
         Dissolution, Inc. (“3118”) and (viii) 8634 Dissolution, Inc. (“8634”, and together with NWON,
         Nexius Solutions, Velex, 2816, 1146, 7695, 3118, collectively, the “Company”) the undersigned,
         being all of the members of the Board of Directors (the “Board”) of the Company hereby waive
         all requirements of notice to take the following actions and adopt the following resolutions by
         unanimous written consent without a formal meeting.

                 WHEREAS, in light of certain defaults having occurred under the controlling loan
         documents, certain of the Company’s secured lenders elected to exercise their rights and remedies
         by selling their right and title to the collateral securing the Company’s obligations by private sale
         (the “UCC Sale”) to a third-party purchaser (the “Purchaser”) in accordance with Article 9 of the
         Uniform Commercial Code as adopted in the State of New York; and

              WHEREAS, simultaneous with the closing of the UCC Sale, by separate agreement, the
         Company sold its remaining de minimis assets to the Purchaser for nominal consideration; and

                 WHEREAS, the Company continues to operate on a limited basis under the auspice of a
         transition services agreement for the benefit of the Purchaser; and

                WHEREAS, in light of the Company’s financial condition, the Company has previously
         engaged certain professionals to advise the Company on the dissolution of the Company, including
         potentially seeking relief under chapter 7 of title 11 of the United States Code (the “Bankruptcy
         Code”), if advisable; and

                  WHEREAS, the directors of the Company have engaged in numerous and extensive
         discussions (including, without limitation, with management and professional advisors) regarding
         the Company’s financial condition, including its liabilities, and any strategic alternatives available
         to it; and



30232202.2

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                 WHEREAS, the Company has determined that it may be desirable and in the best interests
         of the Company and its creditors, employees, and other interested parties that a petition be filed by
         the Company, seeking relief under the provisions of chapter 7 of the Bankruptcy Code;

                  NOW, THEREFORE, BE IT

                                RESOLVED, that each of the Chief Executive Officer, Chief Financial
                        Officer, and any other officer or person designated and so authorized to act (each,
                        an “Authorized Officer”) on behalf of the Company be, and each hereby is,
                        authorized, empowered, and directed, in the name and on behalf of the Company,
                        to execute and verify a petition under chapter 7 of the Bankruptcy Code and to
                        cause the same to be filed in the United States Bankruptcy Court for the District of
                        Delaware (the “Bankruptcy Court”) at such time or in such other jurisdiction as
                        the Authorized Officer executing the petition shall determine; and it is further

                                RESOLVED, that the law firms of Cooley LLP and Young Conaway
                        Stargatt & Taylor, LLP be, and hereby are, employed as attorneys to represent the
                        Company in connection with any such chapter 7 case; and it is further

                                RESOLVED, that any Authorized Officer be, and hereby is, authorized,
                        empowered, and directed to execute and file all petitions, schedules, motions, lists,
                        applications, pleadings, and other papers and, in connection therewith, to employ
                        and retain all assistance by legal counsel, accountants, financial advisors, and other
                        professionals and to take and perform any and all further acts and deeds that such
                        Authorized Officer deems necessary, proper, or desirable in connection with the
                        Company’s chapter 7 case, including attending the meeting of creditors pursuant to
                        section 341 of the Bankruptcy Code on behalf of the Company; and it is further

                                RESOLVED, that any Authorized Officer and such other officers of the
                        Company as the Authorized Officers shall designate from time to time, and any
                        employees or agents (including counsel) designated by or directed by any such
                        officers be, and each hereby is, authorized, empowered, and directed, in the name
                        and on behalf of the Company, to cause the Company to enter into, execute, deliver,
                        certify, file, and/or record, and perform such agreements, instruments, motions,
                        affidavits, applications for approvals or rulings of governmental or regulatory
                        authorities, certificates, or other documents, and to take such other actions, as in the
                        judgment of any such officer shall be or become necessary, proper, and desirable
                        to effectuate the successful prosecution of the chapter 7 case; and it is further

                               RESOLVED, that each Authorized Officer be, and each hereby is,
                        authorized and empowered on behalf of and in the name of the Company, to execute
                        such consents of the Company, as such Authorized Officer considers necessary,
                        proper or desirable to effectuate these resolutions, such determination to be
                        evidenced by such execution or taking of such action; and it is further




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                                                           2
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                               RESOLVED, that any and all past actions heretofore taken by any
                        Authorized Officer or the directors of the Company in the name and on behalf of
                        the Company in furtherance of any or all of the preceding resolutions be, and the
                        same hereby are, ratified, confirmed, and approved.



                IN WITNESS WHEREOF, the undersigned have executed this Written Consent as of April
         20, 2023.



                                              DIRECTORS:




                                              Nabil Taleb, Sole Director
                                              NWON, LLC, Nexius Solutions, Inc., 2816 Dissolution, Inc.
                                              1146 Dissolution, Inc., 7695 Dissolution, Inc., 3118
                                              Dissolution, Inc., and 8634 Dissolution, Inc.




                                              Mark Baysinger, Sole Director
                                              Velex, Inc.




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                                        Chapter 7

    NWON, LLC,1                                                   Case No. 23-_____ (___)

                                Debtor.


    In re:                                                        Chapter 7

    NEXIUS SOLUTIONS, INC.,                                       Case No. 23-_____ (___)

                                Debtor.


    In re:                                                        Chapter 7

    VELEX, INC.,                                                  Case No. 23-_____ (___)

                                Debtor.


    In re:                                                        Chapter 7

    2816 DISSOLUTION, INC.,                                       Case No. 23-_____ (___)

                                Debtor.


    In re:                                                        Chapter 7

    1146 DISSOLUTION, INC.,                                       Case No. 23-_____ (___)

                                Debtor.


1
     The Debtors in these chapter 7 cases, along with the last four digits of their federal tax identification numbers,
     are NWon, LLC (3676), Nexius Solutions, Inc. (3174), Velex, Inc. (4079), 2816 Dissolution, Inc. (2816), 1146
     Dissolution, Inc. (1146), 7695 Dissolution, Inc. (7695), 3118 Dissolution, Inc. (3118), and 8634 Dissolution, Inc.
     (8634). The Debtors’ headquarters is located at 2051 Midway Rd, Lewisville, TX 75056.
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  In re:                                               Chapter 7

  7695 DISSOLUTION, INC.,                              Case No. 23-_____ (___)

                          Debtor.


  In re:                                               Chapter 7

  3118 DISSOLUTION, INC.,                              Case No. 23-_____ (___)

                          Debtor.


  In re:                                               Chapter 7

  8634 DISSOLUTION, INC.,                              Case No. 23-_____ (___)

                          Debtor.


              CONSOLIDATED CORPORATE OWNERSHIP STATEMENT
               PURSUANT TO FED R. BANKR. P. 1007(a)(1) AND 7007.1

       Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

the above-captioned debtors (each a “Debtor” and collectively, the “Debtors”), to the best of their

knowledge, information, and belief, hereby state as follows:

       1.      NWon, LLC owns 100% of the equity interests of the following Debtors:

                   •   Nexius Solutions, Inc.

                   •   Velex, Inc.

                   •   2816 Dissolution, Inc.

                   •   1146 Dissolution, Inc.

                   •   7695 Dissolution, Inc.

                   •   3118 Dissolution, Inc.


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   •   8634 Dissolution, Inc.




                                -3-
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Fill in this information to identify the case:

Debtor name         NWon, LLC

United States Bankruptcy Court for the:     DISTRICT OF DELAWARE

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                      12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration           Corporate Ownership Statement

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on            6/2/23                     X     /s/ Mark Baysinger
                                                             Signature of individual signing on behalf of debtor

                                                                    Mark Baysinger
                                                             Printed name

                                                                    Authorized SIgnatory
                                                             Position or relationship to debtor




Official Form 202                                                                       Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE


                 In re:                                                        Chapter 7

                 NWON, LLC,1                                                   Case No. 23-_____ (___)

                                             Debtor.


                 In re:                                                        Chapter 7

                 NEXIUS SOLUTIONS, INC.,                                       Case No. 23-_____ (___)

                                             Debtor.


                 In re:                                                        Chapter 7

                 VELEX, INC.,                                                  Case No. 23-_____ (___)

                                             Debtor.


                 In re:                                                        Chapter 7

                 2816 DISSOLUTION, INC.,                                       Case No. 23-_____ (___)

                                             Debtor.


                 In re:                                                        Chapter 7

                 1146 DISSOLUTION, INC.,                                       Case No. 23-_____ (___)

                                             Debtor.


             1
                  The Debtors in these chapter 7 cases, along with the last four digits of their federal tax identification
                  numbers, are NWon, LLC (3676), Nexius Solutions, Inc. (3174), Velex, Inc. (4079), 2816 Dissolution,
                  Inc. (2816), 1146 Dissolution, Inc. (1146), 7695 Dissolution, Inc. (7695), 3118 Dissolution, Inc. (3118),
                  and 8634 Dissolution, Inc. (8634). The Debtors’ headquarters is located at 2051 Midway Rd, Lewisville,
                  TX 75056.
30320114.1

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                In re:                                                                     Chapter 7

                7695 DISSOLUTION, INC.,                                                    Case No. 23-_____ (___)

                                                  Debtor.


                In re:                                                                     Chapter 7

                3118 DISSOLUTION, INC.,                                                    Case No. 23-_____ (___)

                                                  Debtor.


                In re:                                                                     Chapter 7

                8634 DISSOLUTION, INC.,                                                    Case No. 23-_____ (___)

                                                  Debtor.


                    DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTORS

             1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that my firm,
             Cooley LLP (“Cooley”), is counsel for the above-captioned debtors (collectively, the
             “Debtors”) and that compensation paid to Cooley within one year before the filing of the
             petition in bankruptcy, or agreed to be paid to Cooley, for services rendered or to be
             rendered on behalf of the Debtors in contemplation of or in connection with the bankruptcy
             cases is as follows:

             For legal services, Cooley has agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . $125,000

             Prior to the filing of this statement Cooley has received . . . . . . . . . . . . . . . . . $250,000

             Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $0

             2.      The source of the compensation paid to Cooley was Nexius Solutions, Inc. The
             Debtors agreed that a portion of retainer funds that Nexius Solutions, Inc. paid to Cooley
             in contemplation of or in connection with the bankruptcy cases would be transferred from
             Cooley to Young Conaway Stargatt & Taylor, LLP (“YCST”) to satisfy the retainer amount
             owed under YCST’s engagement letter and would be earned upon receipt by YCST.

             3.     Cooley has not agreed to share the above-disclosed compensation with any other
             person, unless they are a partner, counsel, or associate of Cooley.
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                                                                            2
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             4.      In return for the above-disclosed fee, Cooley has agreed to render legal services
             relating to these bankruptcy cases, including:

                    a.      Analyzing the Debtors’ financial situation, and rendering advice to the
             Debtors in determining whether to file bankruptcy petitions;

                    b.      Coordinating preparation of the voluntary petitions, schedules and
             statements of financial affairs in bankruptcy and certain other documents that may be
             required, and advising the Debtors with respect to the same; and

                    c.     Advising the Debtors in preparation for the meeting of creditors, and any
             adjourned hearings thereof.

             5.     By agreement with the Debtors, the above-disclosed fee does not include the
             representation of the Debtors in adversary proceedings and other contested bankruptcy
             matters, nor does it include any future non-bankruptcy representation.




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                                                         3
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                                                CERTIFICATION

                    I hereby certify that the foregoing is a complete statement of any agreement or
             arrangement for payment to Cooley for representation of the Debtors in these bankruptcy
             proceedings.


              Dated: Wilmington, Delaware            COOLEY LLP
                     June 2, 2023

                                                     /s/ Summer M. McKee
                                                     Michael Klein
                                                     Summer M. McKee
                                                     55 Hudson Yards
                                                     New York, NY 10025
                                                     Telephone: (212) 479-6000
                                                     Facsimile: (212) 479-6275
                                                     mklein@cooley.com
                                                     smckee@cooley.com

                                                     Counsel for the Debtors




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                                                         4
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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE


    In re:                                                        Chapter 7

    NWON, LLC,1                                                   Case No. 23-_____ (___)

                                Debtor.


    In re:                                                        Chapter 7

    NEXIUS SOLUTIONS, INC.,                                       Case No. 23-_____ (___)

                                Debtor.


    In re:                                                        Chapter 7

    VELEX, INC.,                                                  Case No. 23-_____ (___)

                                Debtor.


    In re:                                                        Chapter 7

    2816 DISSOLUTION, INC.,                                       Case No. 23-_____ (___)

                                Debtor.


    In re:                                                        Chapter 7

    1146 DISSOLUTION, INC.,                                       Case No. 23-_____ (___)

                                Debtor.


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     The Debtors in these chapter 7 cases, along with the last four digits of their federal tax identification
     numbers, are NWon, LLC (3676), Nexius Solutions, Inc. (3174), Velex, Inc. (4079), 2816 Dissolution,
     Inc. (2816), 1146 Dissolution, Inc. (1146), 7695 Dissolution, Inc. (7695), 3118 Dissolution, Inc. (3118),
     and 8634 Dissolution, Inc. (8634). The Debtors’ headquarters is located at 2051 Midway Rd, Lewisville,
     TX 75056.
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   In re:                                                                     Chapter 7

   7695 DISSOLUTION, INC.,                                                    Case No. 23-_____ (___)

                                     Debtor.


   In re:                                                                     Chapter 7

   3118 DISSOLUTION, INC.,                                                    Case No. 23-_____ (___)

                                     Debtor.


   In re:                                                                     Chapter 7

   8634 DISSOLUTION, INC.,                                                    Case No. 23-_____ (___)

                                     Debtor.


       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTORS

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that my firm,
Young Conaway Stargatt & Taylor, LLP (“YCST”), is counsel for the above-captioned
debtors (collectively, the “Debtors”) and that compensation paid to YCST within one year
before the filing of the petition in bankruptcy, or agreed to be paid to YCST, for services
rendered or to be rendered on behalf of the Debtors in contemplation of or in connection
with the bankruptcy cases is as follows:

For legal services, YCST has agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . $125,000

Prior to the filing of this statement YCST has received . . . . . . . . . . . . . . . . . $125,000

Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $0

2.     The source of the compensation paid to YCST was Nexius Solutions, Inc. The
Debtors agreed that a portion of retainer funds that Nexius Solutions, Inc. paid to the
Debtors’ legal counsel, Cooley LLP (“Cooley”), would be transferred from Cooley to
YCST to satisfy the retainer amount owed under YCST’s engagement letter and would be
earned upon receipt by YCST.

3.     YCST has not agreed to share the above-disclosed compensation with any other
person, unless they are a partner, counsel, or associate of YCST.

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4.     In return for the above-disclosed fee, YCST has agreed to pay the filing fees
required to commence these bankruptcy cases and has further agreed to render legal
services relating to these bankruptcy cases, including:

       a.      Analyzing the Debtors’ financial situation, and rendering advice to the
Debtors in determining whether to file bankruptcy petitions;

      b.      Preparing and filing voluntary petitions in bankruptcy and certain other
documents that may be required; and

       c.      Representing the Debtors at the meeting of creditors, and any adjourned
hearings thereof.

5.     By agreement with the Debtors, the above-disclosed fee does not include the
representation of the Debtors in adversary proceedings and other contested bankruptcy
matters, nor does it include any future non-bankruptcy representation.




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                                 CERTIFICATION

       I hereby certify that the foregoing is a complete statement of any agreement or
arrangement for payment to YCST for representation of the Debtors in these bankruptcy
proceedings.


 Dated: Wilmington, Delaware            YOUNG CONAWAY STARGATT & TAYLOR, LLP
        June 2, 2023

                                        /s/ Sean M. Beach
                                        Sean M. Beach (Del. No. 4070)
                                        Sean T. Greecher (Del. No. 4484)
                                        Jared W. Kochenash (Del. No. 6557)
                                        Rodney Square
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                                        Counsel for the Debtors




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